Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 1 of 95




                      EXHIBIT Q
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 2 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 3 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 4 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 5 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 6 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 7 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 8 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 9 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 10 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 11 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 12 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 13 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 14 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 15 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 16 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 17 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 18 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 19 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 20 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 21 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 22 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 23 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 24 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 25 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 26 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 27 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 28 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 29 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 30 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 31 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 32 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 33 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 34 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 35 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 36 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 37 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 38 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 39 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 40 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 41 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 42 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 43 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 44 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 45 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 46 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 47 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 48 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 49 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 50 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 51 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 52 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 53 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 54 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 55 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 56 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 57 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 58 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 59 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 60 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 61 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 62 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 63 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 64 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 65 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 66 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 67 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 68 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 69 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 70 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 71 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 72 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 73 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 74 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 75 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 76 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 77 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 78 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 79 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 80 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 81 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 82 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 83 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 84 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 85 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 86 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 87 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 88 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 89 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 90 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 91 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 92 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 93 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 94 of 95
Case 19-12269-KBO   Doc 70-17   Filed 11/12/19   Page 95 of 95
